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Department of Sociology


TO:     Joseph A.Bugni, Associate Federal Defender

FROM: Michael Kimmel
      SUNY Distinguished University Professor

RE:     Samy Hamzeh

DATE: 8 October 2019

I have read the transcripts of various conversations among young men identified as
                 and Samy Hamzeh 1.

Over the past 35 years of my career, I have studied the dynamics of male groups, and
explored various dynamics of masculinity. I am currently Distinguished University
Professor of Sociology and Gender Studies at Stony Brook University, and the founder and
Executive Director of the Center for the Study of Men and Masculinities there. I am the
founding editor of the scholarly journal Men and Masculinities.

I have particularly explored the dynamics of masculinity among younger men and boys. In
general, the conversations among these young men under consideration here resemble
most man other settings where men hang out and bond with each other. All-male groups,
such as military units, collegiate fraternities, sports teams and even close friendship groups
often exhibit similar sorts of characteristics.

In addition, I have served as an expert witness for the Civil Rights division of the U. S.
Department of Justice in the litigation about the Virginian Military Institute and The Citadel
(1993-1996), eventually decided by the United States Supreme Court. In that context, the
Justice Department relied on my expertise on the dynamics of all-male groups and the
solidarity and hierarchies that develop in such groups.

I have examined these sorts of groups, and the types of conversations that they have, in my
book Guyland: The Perilous World Where Boys Become Men, published originally in 2008
and republished in 2018 in a new edition. Based on interviews with more than 400 young
men, Guyland was hailed as the definitive work on young men, aged 16-26.

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 Transcripts on the following dates: 10/13/2015, 10/15/2015, 11/02/2015, 11/06/2015, 11/12/2015, 11/19/2015,
11/23/2015, 12/7/2015, 12/14/2015, and 1/19/2015 – 01-25/2015



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In that book I described the homosocial world of young men, how they seek to establish
their masculinity in the eyes of others, often by risk-taking, to “prove” themselves.
Homosocial bonding through conversation usually creates hierarchies of risk taking,
bravado and boastfulness. Boasting is a form of bonding. Specifically, I found how
important “gender policing” is among men, how young men “police” the gender
appropriateness of the actions and attitudes of other men. Posturing and posing for the
approval of other men is the centerpiece of masculinity.

In my subsequent book, Angry White Men: Masculinity at the End of an Era (2013), I
interviewed a range of “angry white men” – from men’s rights activists and fathers’ rights
groups to white nationalists, neo-Nazi skinheads and white supremacists. Based on about
100 interviews across a spectrum of areas, I discovered that all these groups of young
angry men experienced what I call “aggrieved entitlement” – a sense that something has
been taken from them, something they “deserved” and has been given to others who are
less deserving. Thus they are both entitled to the rewards they expected but aggrieved
because they did not get them.

For my most recent book, Healing from Hate: How Young Men Get Into- and out of – Violent
Extremism (2018), I interviewed another 100 men who have successfully exited from
extremists groups. I described with ways that young men get into, and out of, these
extremist politics. After detailing the dynamics of entry – how the men are recruited into
violent extremism - I focused on four organizations that help men get out of violent
extremist movements in four different countries. I focused on ex-neo-Nazis and white
supremacists in Sweden, German and the United States, and also former jihadists in
London. In Sweden and Germany, I worked with EXIT, and in the U.S. I worked with Life
After Hate. And in London, I worked with Quilliam Foundation. Each of these
organizations are organized and staffed by “formers,” men who have been radicalized into
extremist groups, and have found their way out, and now seek to help other men to get out.
Through Quilliam, I interviewed several former jihadists in London about their
recruitment, experiences, and the strategies they used to get out of the movement.

These three books, as well as several scholarly articles, provide the academic foundation of
my assessment of the transcripts of conversations among Hamzeh,                       and
one or two others who appear occasionally.

There are two possible ways one can read the transcripts: (1) as the preparations of a
terrorist, planning with others, to commit an act of terrorism; or (2) the banter of a group
of guys, fantasizing, boasting and building camaraderie among the members of the group.
In my opinion, the transcript reads more like the dynamics of banter among a group of
friends than an actual terrorist plot. More importantly, the transcripts often read like Samy
Hamzeh himself believes it to be guy talk. By the end of the transcripts, when the talk turns
more serious, Samy Hamzeh, the identified suspect, seeks to withdraw from the group by
finding an alternate justification for resisting the group norms. It seems clear to me that for
Hamzeh, at least, this was more banter than plot.



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THE IMPORTANCE OF CONFORMITY AMONG YOUNG MEN

One of the key components of male bonding is conformity. There are norms of masculinity
to which all members are assumed to subscribe; failure to subscribe to them can result in
social exclusion. The drive for conformity is not specific to men, of course -- as the early
social psychology experiments by Solomon Asch demonstrated. In his classic experiments,
subjects were shown cards with three lines and asked to identify the line that was shortest
and longest. It was an easy task, and subjects invariably got it right when they were asked
individually, or even in a group when they answered first. But when others in the group
picked a different line, and declared it the longest, the subject of the experiment became
confused and agitated and eventually changed his or her mind, and “saw” the wrong line as
the correct answer. Thus it was demonstrated that exerting enough social pressure could
change a person’s perceptions of reality. It was argued by the experimenters that the
subjects actually did change their perceptions, and didn’t simply go along because it was
“easier.”

These experiments are the foundation of much of the research on peer pressure, which is at
its peak in age cohorts, like adolescents and young men, that are attempting to establish
their identities and their pace in the group’s hierarchy. Asch’s original research has been
replicated many times, and it remains the touchstone experiment on group processes.

In Guyland, I found this pressure to be particularly salient among young men. The drive to
“fit in” is especially powerful, and young men will take all sorts of risks – in driving,
drinking, ritual limit testing – to prove that they are “real men,” and that they belong.

In the transcripts, there are many instances of each of the conversants attempting to
establish their position in the hierarchy, their membership in the group, the conformity
that is perceived to be the glue of the group. These dynamics are present in most all-male
groups, from informal friendship networks to more formal institutional groups like sports
teams, military units, and collegiate fraternities.

MALE BONDING

Perhaps the central dynamics in male friendships is the bonding that takes place through
shared activities and conversation. That bonding, solidarity and camaraderie is established
through mutually agreed-upon hierarchies.

There is also a sizable literature on the significance of male bonding in men’s lives.
Whether in studies of sports teams, the military, collegiate fraternities, there are studies of
rituals of initiation that establish membership in the group, and the significance of male
bonding both for group solidarity and individual identity.

The transcripts are filled with harmless banter, designed to create strong group feelings
and cement group norms. Hamzeh spends most of the time in these transcripts hanging
out with other guys he thought were his friends and confidants. As is typical of male banter


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they all spend time boasting, seeking to outdo each other. For example, on 1/24/16 they
pray, go to Taco Bell, talk about sex, and their mothers’ cooking. 2 There is a lot of banter
also about shooting guns, very much the way that other groups of guys talk about sex. On
11/02/15, Hamzeh confesses he doesn’t know how to shoot a gun, which is analogous to
saying he’s a virgin. 3

There is a constant play of who is in the group – for example, whether Mo can be trusted –
and discussion like these are often a way to cement the bonds among the others. Notice
how they constantly question the others’ loyalty to the group, whether Mo or someone else
is not really one of them.

Male bonding is thus emotionally ambiguous: “you’re either in or you’re out” distinctions
made by peer disciplining can produce a variety of emotions like shame, fear, and hurt
alongside friendship, intimacy, and bonding.

In the beginning of the transcripts, Hamzeh talks about how he wants to go to Gaza and
perform jihad. He insists that he wants to go “there” but does not want to do anything
“here.” In fact, as he says, “that was all talk”. 4 While others try to persuade him, Hamzeh
says he can’t go now because his mother is ill. Hamzeh says that his mother has had a heart
attack. Both his parents ask him to stay at home.

MALE BONDING AS COMPETITIVE AND HIERARCHICAL

Bonding takes places largely through creating horizontal bonds of solidarity and vertical
lines of authority. Much of male bonding is what researchers call “dominance bonding”

Dominance bonding is defined by Katherine Farr as a “process of collective alliance through
which the group and its members affirm and reaffirm their superiority.” Dominance
bonding is the glue that holds the powerful together.
“The striving to do gender appropriately within the constraints of the fraternal bond
involves talk that manages to put down women while also ridiculing or teasing one
another.” (Curry, 131.)

Sociologist Mike Messner argued that dominance bonding becomes the way that men often
experience emotional connection with each other based on a shared sense of superiority,
conferred by sexism or homophobia. Men reaffirm their masculinity through such bonding.

Another study found that in such groups “the male group bond consisted almost entirely of
aggressive words” (Lyman, in ML 161). An example of this is the constant homophobia that
permeates their conversations. In the transcripts, they use the word “faggot” about 40
times, mostly by           , but by all of them. It’s possible that        is using the


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word most often to establish his dominance in the group, and trying to get Hamzeh to
follow along.

It is clear from the dynamics presented in the transcripts that            is at the top of the
hierarchy: he directs the flow of the conversation, and does the most “gender policing” – by
which I mean that he is the one who questions the others’ masculinity by calling them
“faggot.” He is also the only one with a gun, which also enhances his status. In that
hierarchy, everyone else is a “wannabe,” trying to both prove their masculinity to the “top
dog” and also cement their position in the hierarchy of manhood.

There is an extensive literature on the importance of the intensity of this competitive and
hierarchical world of male bonding. Anthropological research on initiation, hazing, and
their importance in men’s identities is well-developed in the social sciences, for example
David Gilmore’s Manhood in the Making (1991) and Thomas Gregor’s research on cross-
cultural initiation rituals (1982).

In my research for Guyland, I found that homophobia – the fear that others will think you
are or might be gay – is a prime motivator for young men to take all sorts of risks to prove
they are not gay. “That’s so gay” is among the most common put-downs among young men
in middle school, high school and beyond. This constant homophobic element is especially
present in all-male groups, such as the military, fraternities, and sports teams. “That which
is under suspicion of being at odds with traditional definitions of masculinity threatens the
bond and will be questioned.” (Curry. 130)

Homophobia is often the glue that holds men’s groups together, sharing solidarity and
creating community through dominance over gay men as well as women (perceived
femininity). The fear of being perceived as weak, as insecure, as emotional, as afraid –
these are often the fears that lead to men’s risk taking.

It often involves one-upping each other. “Underlying these interactions is an ever present
sense of competition, both for status and position on the team itself and between the team
and its opponents.” (Curry, p. 123).

Curry systematically analyzed conversations among athletes in a locker room setting,
literally “locker room talk. “Among young men, disengagement is often a mechanism for
establishing one’s position in the hierarchy. For example, how little one cares about school
– academic disengagement – is often perceived as a sign of masculinity, while caring about
school is reserved for “wimps” and “nerds.”

Similarly, sociologist C. J. Pascoe’s ethnography of a public high school in California, Dude,
You’re a Fag (2007) examined the dynamics of adolescent masculinity and how the
hierarchies center around homophobic banter.

In an experiment I conducted with a graduate student, researchers coded three types of
pornography for their levels of violence towards women. As expected, magazines were less
violent than videos, which were, themselves, less violent than Internet chat rooms. Why,


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we asked, were the Internet chat rooms far more violent than the magazines or videos?
Our findings were that the internet chat rooms were a homosocial space of male
dominance bonding through competitive interactions among the men, and when one would
say what he did with a partner, some other man would establish his place in the hierarchy
by either agreeing or trying to go one better. Pretty soon the conversation got more
graphic, more vulgar, and more violent.

And what is true I the arena of male conversations about sex is equally true in many other
arenas: athletic prowess, strength and power, military exploits, and other areas. This is
also well documented in social science literature (Messner, 2007; Nelson, 1995).


OBEDIENCE TO AUTHORITY

In another classic social psychology experiment, Stanley Milgram (1963, 1974) tested the
limits of the ability to pull away from the group. In his now famous experiments, he found
that a majority of subjects were willing to administer significant electric shocks to the
“learners” in the experiment. They did so because they were told to do so by an
“authority,” meaning the lab technician or experimenter. It was clear that subjects wanted
to resist, but felt that the authority of the technician gave them a moral absolution from any
consequences for their actions.

One can see this in the ways that Hamzeh ultimately needs “reinforcements” – two imams
– to declare that he does not want to go through with any sort of attack. It took great
strength to be able to say that; he did not go along with it, but in fact resisted the pull of the
group, and their claims to higher, theological, authority.

This is more than the simple “god willing” that punctuates their conversations.

In fact, the young men rarely talk about theology, ideology, or politics. There’s vague talk
about jihad, or some references to how the Masons control so much. There’s some
imaginative misinformation, that, for example, the Masons like to eat the hearts of Muslims
and they are actually ISIS. 5 This suggests that the banter is, in some ways, apolitical. The
conversations are interpersonal, not political. They don’t talk politics, they don’t talk
religion. And when they actually do have real religious or political conversations, as when
Hamzeh speaks to two imams, he listens. He repeatedly says he wants nothing to do with
Hamas. Hamzeh introduces a different, alternative hierarchy (religious) for the hierarchy
developing among the guys.

Though Hamzeh has a lot of energy for jihad and talks constantly about it, it is always
someone else who seems to initiate the plan, whether it’s killing Masons or robbing a
diamond store. For example, Hamzeh states on January 19, 2016, it was                 that
proposed the Masons. 6

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In fact, Hamzeh seems to understand that this sort of banter is exactly the vehicle for male
bonding – and noting more. Twice he refers to “this type of talk” knowing it is not serious;
once on January 19, 2016, 7 he explicitly says “I’m joking” on January 22, 2019. 8.



RESISTANCE AND NON-CONFORMITY

The dynamics of bonding in all-male friendship groups create a uniformity of though and a
constant provocation to take greater and greater risks. It is, therefore, quite surprising -
and ultimately revealing that Hamzeh eventually resists the peer pressure and risks social
exclusion by deciding he does not want to participate in a terrorist act in the United States.

In order to make his case, he breaks every norm I have enumerated:

-- He breaks the unanimity and consensus within the group, risking exclusion;

-- He reports to a different authority; in fact, he consults two imams and his father, all of
who advise against it, which provides Hamzeh with the alternate a justification that he
needs to resist.

-- He withstands homophobic taunts of being a faggot and chicken because he does not
want to go through with it.

-- He insists that he only wants to acquire a weapon for self-defense, and wants to acquire
only a handgun.

-- He admits to being afraid, thus breaking the masculine norm of never showing weakness
nor fear. p. 19: “I could have gone a long time ago. I am afraid to go and get arrested.
That’s what I’m afraid of; I don’t want to be arrested.” 9


What seems clear from the transcripts, then, is that the police informants, fearing that they
are going to “lose” their prey as he resists their peer pressure, eventually concoct a scheme
to get him to carry the weapons and be caught with them. At that stage, in my opinion, his
association with the weapons was only because they all asked him to do it, and by then he
had already extricated himself from the plan. His motivation was about going along with
the group, wanted to please the others, wanting to prove he wasn’t weak.

As the plan begins to unravel, Hamzeh has second thoughts, 10 and agrees to keep the
weapons “just in case” perhaps to guard a mosque. 11 He clearly accepts the need for the

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weapons but he is not at all accepting of the idea of jihad in the United States. 12 For
Hamzeh, his conversations were about sustaining the group, maintaining his membership
in it, and proving himself. He clearly knows the difference between the fantasy violence of
video games or action movies, and the reality of real violence. Talking big and boastfully is
quite different from actually following through on that braggadocio.


CONCLUSION

In conclusion, I would say that it is a good thing police informants are not sitting in when
guys sit around shooting the breeze in locker rooms and frat houses and firehouses and
police stations all across the country. Just as it’s hard to tell if any of Hamzeh’s statements
are serious or banter, it would be hard to tell if the guys’ conversations posed a serious
threat or were simply, as the saying goes “locker room talk.”

As I read these transcripts, it is my opinion that they represent the dynamics of male
bonding through boastful banter, preening and posturing in a comradely hierarchy, and not
the strategic planning by a terrorist cell.




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